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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF LOUISIANA


   In re:
                                                               Case No. 17-12870
   REILLY-BENTON COMPANY, INC.,
                                                               Chapter 7
                    Debtors.
                                                               Section A




                               OPPOSITION TO MOTION TO COMPEL
                               WITH INCORPORATED MEMORANDUM

            Reilly-Benton Company, Inc., through undersigned counsel, hereby opposes the Emergency

   Motion to Compel Reilly-Benton Company, Inc. [Dkt. 217] (“Motion”) filed by the Landry & Swarr Creditors1

   (“Movants”) for the following reasons.

                                           I.    SUMMARY OF ARGUMENT

            Movants are seeking to depose Cecile Watters Tebo (“Tebo”) as the corporate representative

   of the Debtor. Warren K. Watters (“Watters”) is the only officer/director of the Debtor and has been

   the only officer/director since 2011. Tebo is not a “managing agent” of the Debtor and cannot testify

   as the Debtor’s corporate representative. Tebo’s appearance as a corporate representative of the

   Debtor at prior depositions was not raised by any counsel at the hearing on the Motion to Compel Reilly-

   Benton Company, Inc. [Dkt. 161] filed by the Roussel & Clement Creditors. Leo Congeni made an

   appearance on behalf of the Movants and Mickey Landry was present at the hearing. Movants are

   attempting to take a “second bite of the apple” by raising an issue that should have been raised on



   1 Movants motion reflects that the firm of Landry & Swarr represents claimants who have filed claims against Reilly-

   Benton Company, Inc., including Donnie Bridges, Ronnie David Bridges, Rodney Lynn Bridges, Sherri Renee Attaway,
   and Deborah Kay Thurber, Paul Sanderson, Jr., Kelly P. Sanderson, Dale Michael Sanderson, and Mark Sanderson, Kevin
   Franchina, Tena Danos and Josephine Alexander.



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   August 18, 2022.

                                                     II.    Argument

   A. The Debtor Cannot Produce a Representative Other Than Warren Watters.

   1.         For the deposition of corporation or organization, Federal Rule of Civil Procedure 30(b)(6)

   provides that “The named organization must designate one or more officers, directors, or managing

   agents, or designate other persons who consent to testify on its behalf.” Unfortunately, the only party

   qualified to testify on behalf of the Debtor is Watters. All other persons who would have been able

   to testify regarding the topics listed in the Notice of Deposition are deceased.

   2.         The Movants have suggested that Cecile Watters Tebo (“Tebo”) can be the corporate

   representative of the Debtor since she testified that she was a vice-president of the company in 2004.

   Since 2011, Watters has been the sole officer/director of the Debtor.2 For Tebo to be a corporate

   representative of the Debtor, she would have to be a “managing agent” of the Debtor.

              The general rule is that former employees cannot be managing agents of a
              corporation. Colonial Capital, 29 F.R.D. at 515 (citation omitted) (recently retired Vice
              President of General Motors cannot be considered managing agent at time of
              deposition); see also Mitchell v. American Tobacco Co., 33 F.R.D. 262, 263 (M.D.Pa.1963)
              (former president of corporation not a managing agent after retirement); Frasier v.
              Twentieth Century–Fox Film Corp., 22 F.R.D. 194, 197 (D.Neb.1958) (corporation not
              required to produce former officer and director for deposition).

              In re Honda Am. Motor Co., Inc. Dealership Relations Litig., 168 F.R.D. 535, 540 (D.
              Md.1996)

   3.         Courts have discussed the designation of a “managing agent” for purposes of a Rule 30(b)(6)

   deposition and have identified certain criteria to determine if a person is a “managing agent”. Tebo’s

   status as a director in 2004 or 2010 is irrelevant to whether she is a managing agent of the Debtor for

   purposes of the current deposition of the Debtor. “Determining whether an individual qualifies as a

   “managing agent” of a corporation must be made at the time of the deposition. See, e.g., Curry v. States



   2   See Exhibit A, Annual Reports of Reilly-Benton Company, Inc. from 2010-2017.

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   Marine Corp. of Del., 16 F.R.D. 376, 377 (S.D.N.Y.1954).” Id. at 540. The Debtor ceased operations

   many years ago and Tebo has not had any involvement with the Debtor since 2010 (at the latest).

   4.         The determination of a party as a “managing agent” is fact intensive and decided on a case-

   by-case business.

              Courts have liberally construed the term managing agent, and the determination of
              whether an individual can be considered a “managing agent” of an organization is fact
              intensive,         decided        largely       on          a       case-by-case      basis.
              Founding Church of Scientology of Washington, D.C., Inc. v. Webster, 802 F.2d 1448, 1452 (D
              .C.Cir.1986) (“The law concerning who may properly be designated as a managing
              agent is sketchy. Largely because of the vast variety of factual circumstances to which
              the concept must be applied, the standard, like so many others in the law, remains a
              functional one to be determined largely on a case-by-case basis.”). The D.C. Circuit
              has noted that “[f]or the purpose of determining whether an individual is a ‘managing
              agent’ within the meaning of the discovery rules, ... the focus begins with the character
              of the individual's control.” Id. at 1452–53. Other factors include “both the degree to
              which the interests of the individual and the corporation converge, and how helpful
              the individual will be in fact-finding on the matter at issue, in comparison to others
              associated with the corporation.” Id. at 1453; see also E.I. DuPont de Nemours and Co. v.
              Kolon Indus., Inc., 268 F.R.D. 45, 48–49 (E.D.Va.2010) (stating that relevant factors in
              considering an individual's managing agent status include “(1) the discretionary
              authority vested in the person by the corporation; (2) the employee's dependability in
              following the employer's directions; (3) whether the individual is more likely to identify
              with the corporation or the adverse party in the litigation; and (4) the degree of
              supervisory authority in areas pertinent to the litigation.”).

              Rundquist v. Vapiano SE, 277 F.R.D. 205, 208 (D.D.C.2011)

   5.         Tebo does not satisfy any of the factors identified above. She has not been an officer or

   director of the Debtor since 2011. According to her deposition testimony, which is attached to the

   Motion as Exhibit F, Tebo is social worker who only worked for the Debtor for “maybe a two-week

   period”.3

   6.         The Movants are seeking information regarding the Debtor’s relationship with certain insurers,

   the current status of pending litigation, reasons for filing Chapter 7, and settlement agreements

   between the Debtor and certain insurers. Tebo has not had any involvement with the Debtor for at



   3   See Exhibit F to Motion, p. 19.

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   least 10 years and does not have any knowledge of the topics which the Movants have identified.

   Accordingly, the Motion should be denied.

   B. Movants Cannot Relitigate this Issue

   7.         Counsel for Movants were present at the August 18, 2022 hearing on the Motion to Compel

   Reilly-Benton Company, Inc. [Dkt. 161] filed by the Roussel & Clement Creditors, and Leo Congeni made

   an appearance on behalf of the Movants. At that hearing, Tebo’s appearance as a corporate

   representative of the Debtor at prior depositions was not raised by any counsel, despite Gerolyn

   Roussel having attended Tebo’s deposition on November 8, 2004.4 Through this Motion, Movants

   are attempting to take a “second bite of the apple” by raising an issue that should have been raised on

   August 18, 2022. The ability to assert the arguments set forth in the Motion should be barred and the

   Motion should be denied.

   DATED: September 12, 2022                      Respectfully submitted,

                                                  /s/ Albert J. Derbes, IV
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                                                  Patrick S. Garrity (#23744)
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                                       CERTIFICATE OF SERVICE

           I hereby certify, that on September 12, 2022, a copy of the foregoing pleading was filed
   electronically with the Clerk of Court using the CM/ECF System for the United States Bankruptcy
   Court for the Eastern District of Louisiana and that notice of this filing is being served on the
   parties participating in this Court’s CM/ECF system for this case.

                                               /s/Albert J. Derbes, IV
                                                 Albert J. Derbes, IV



   4   See Exhibit F to Motion, p. 2

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                                                                       Exhibit "A"
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